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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


   _______________________________
   SAFE STREETS ALLIANCE, et al.,         Civil Action: No. 15-349-REB-SKC
   Plaintiffs,
   v.
   ALTERNATIVE HOLISTIC
   HEALING, LLC, et al.,
   Defendants.
   ______________________________




        DEFENDANTS’ OBJECTIONS IN RESPONSE TO PLAINTIFFS’ FIRST SET OF
                         DEPOSITION DESIGNATIONS
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          Defendants object to Plaintiffs’ attempt to proffer deposition testimony for use at

   trial from the Defendants’ expert, Ivor Hill. As a general matter, of course, deposition

   testimony is hearsay, and Plaintiffs have not shown why this testimony falls into any

   hearsay exception, such as witness unavailability or party admissions. Mr. Hill appears

   on the Defendant’s witness list, and lives in the state of Colorado and has not indicated

   his unavailability. Moreover, as set forth with particularity below, Plaintiffs’ designations

   include testimony that otherwise lacks a proper foundation for admissibility. For these

   reasons Defendants objects to the admission of any of the deposition testimony from

   Mr. Hill.

                                    GENERAL OBJECTIONS

          Defendant objects to each of Plaintiffs’ designations as hearsay not subject to

   any exception. Federal Rule of Civil Procedure 32 codifies "the long-established

   principle that testimony by deposition is less desirable than oral testimony and should

   ordinarily be used as a substitute only if the witness is not available to testify in person."

   Wright & Miler 8A Fed. Prac. & Proc. Civ.2d 2142.

          For example In Six West Retail Acquisition, Inc. v. Loews Cineplex Entertainment

   Corp. 286 RR. 239, 250 (S.D. N.Y. 2002), a party tried to introduce deposition testimony

   of a witness "located in Japan." The court excluded the testimony because there was no

   indication that the witness was unavailable to testify or that his statements were made

   against his interest. Id.

          None of Plaintiffs designations fall into a hearsay exception. Mr. Hill appears on

   the Defendants witness list, and therefore the Plaintiffs cannot claim that Mr. Hill is
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   unavailable to testify at trial, and Plaintiffs have not provided any evidence showing that

   any of the witnesses are in fact unavailable.

          In addition, Plaintiffs do not claim, and cannot claim, that any of the witnesses

   are adverse parties to it in this litigation. See Mark IV Prop., Inc. v. Club Development

   Mgt. Corp. 12 RR. 854, 859 (S.D. Cal. 1981) (equating "adverse party" with a party to

   the litigation). Mr. Hill is not a party to the lawsuit, was at no time an employee of the

   Defendants, and there is no hearsay exception for available witnesses.

          Defendants object to each of Plaintiffs’ designations of Mr. Hill’s testimony to the

   extent they include inadmissible testimony, as Mr. Hill is not a party to the litigation, and

   is not unavailable.

   DATED: October 1, 2018


                                                               RESPECTFULLY SUBMITTED,
                                                                        /S Matthew W. Buck
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                                    CERTIFICATE OF SERVICE


      I, Matthew W. Buck, hereby certify that on October 1, 2018, I served the opposing
   parties with a copy of the foregoing OBJECTION to the Plaintiffs deposition
   designations.




                                                                           /S Matthew W. Buck
